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   EXHIBIT A – To Notice of Removal of Action Under 28U.S.C. §1441(b) Diversity
                      Plaintiffs Complaint and Jury Demand
            Marcie Faye Haslett v. Keirton, Inc. and Keirton USA, Inc.
                    District Court, City and County of Denver
                                   2021CV30269
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                                                               DATE FILED: January 25, 2021 2:56 PM
 DISTRICT COURT, CITY & COUNTY OF DENVER, FILING ID: 84C73FE42502F
 COLORADO                                 CASE NUMBER: 2021CV30269
 1437 Bannock Street
 Denver, CO 80202

 Plaintiff:
 MARCIE FAYE HASLETT
 vs.
 Defendants:
 KEIRTON INC. and KEIRTON USA INC.                                   COURT USE ONLY 

 PURVIS • GRAY • THOMSON, LLP
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 Attorneys for Plaintiff
                              COMPLAINT AND JURY DEMAND

        Plaintiff Marcie Haslett, by and through her attorneys, PURVIS • GRAY • THOMSON, LLP,
for her Complaint herein alleges the following.

                            I. JURISDICTIONAL ALLEGATIONS

       1.      This is an action to recover damages arising from severe personal injuries sustained
by Plaintiff Marcie Haslett as a result of an incident that occurred in Avondale, Pueblo County,
Colorado on September 18, 2019.

        2.      Plaintiff is a resident of Pueblo, Colorado.

         3.      Keirton Inc. and Keirton USA Inc. are either (a) a single corporation using both
names, or (b) two corporations acting in concert and each doing business as the other from time to
time. All are hereinafter referred to collectively as “Kierton.” Kierton USA Inc. is a State of
Washington profit corporation with offices in the State of Washington. Keirton USA Inc has it’s
principal place of business in British Columbia, Canada. Keirton Inc. is a foreign corporation with
it’s principal place of business in British Columbia, Canada. Keirton has done business in the State
of Colorado.

         4.     Venue is proper in this Court pursuant to C.R.C.P. 98 for reason that Kierton is/are
a corporation(s) which has/have its/their principal place of business in British Columbia, Canada and
is/are a non-resident(s) of this state. Therefore, Plaintiffs, pursuant to C.R.C.P. 98(c), designate the
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City & County of Denver as the venue for this action.

                                II. GENERAL ALLEGATIONS

       5.      At approximately 11:15 a.m., on Wednesday, September 18, 2019, Marcie Haslett
was at her place of employment, Los Suenos Farms, LLC, 46795 State Highway 96 in Avondale,
Colorado.

        6.      Ms. Haslett was using a machine called the Twister. The Twister is described as “the
world's fastest leaf trimmer.” It has a vacuum and blade that are designed to get a close cut without
damaging the marijuana. Ms. Haslett was clearing debris off the vacuum side and her left hand got
caught in the blades. Three of her fingers were degloved and she suffered a compound fracture of
her middle finger on her left hand as well. The machine did not have safety guards in place when
these injuries occurred. The machine was a model T2, manufactured by Defendant Keirton Inc.
and/or Defendant Keirton USA Inc.

       7.       Plaintiff Marcie Haslett was working as an employee of Los Suenos Farms, LLC,
which has its principal place of business in Avondale, Colorado, and is an entity separate and distinct
from the Defendants herein. Los Suenos Farms, LLC is not a defendant in this action.

      8.      As a result of the incident, Plaintiff Marcie Haslett incurred the following injuries,
damages, and losses, without limitation:

               (a)     Comminuted, displaced fractures of the fourth and third distal phalanges;
                       mild flexion deformities;

               (b)     mild palmar subluxation of the distal phalanges in relation to the mid
                       phalanges as well;

               (c)     post-surgical changes overlying the proximal aspect of the third and fourth
                       mid phalanges;

               (d)     ongoing nerve pain and severe limited range of motion for injured fingers;

               (e)     permanent physical impairment;

               (f)     scarring and disfigurement;

               (g)     loss of earnings and earning capacity, past and future;

               (h)     physical and mental pain and suffering, past and future;


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               (i)     loss of life enjoyment and impairment of quality of life, past and future;

               (j)     severe emotional distress, past and future;

               (k)     physical impairments and deficits.

       10     Plaintiff Marcie Haslett is entitled to recover for those injuries, damages, and losses
in amounts sufficient to compensate her for same.

                                III. FIRST CLAIM FOR RELIEF
                                     (Strict Product Liability)

       11      All preceding allegations contained in this Complaint are incorporated herein by this
reference.

       12      Keirton was a manufacturer of the subject Twister.

        13      The Twister was defective and unreasonably dangerous at the time it left Keirton’s
control in at least the following particulars:

               (a)     Keirton failed to provide adequate warnings and/or instructions on use which
                       informed the ordinary user of the risk of harm from the use of the Twister by
                       Plaintiff Marcie Haslett.

               (b)     Keirton failed to provide instructions on use adequate and sufficient to
                       prevent against the events and injuries alleged above.

               (c)     Keirton failed to provide adequate shielding equipment, guards, or methods
                       to prevent occurrence of the above alleged events and injuries.

      14.    The subject assembly was expected to and did reach Plaintiff Marcie Haslett’s
employer without substantial change in its pertinent condition at the time of its manufacture.

        15      Plaintiff Marcie Haslett was a person who would reasonably be expected to use or
be affected by the Twister.

      16      The Twister’s defective and unreasonably dangerous condition was a direct and
proximate cause of Plaintiff Marcie Haslett’s injuries, damages, and losses.

       17.      Keirton is liable for Plaintiff Marcie Haslett’s injuries, damages, and losses under the
doctrine of strict liability.


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         WHEREFORE, Plaintiff prays for judgment against Defendants Keirton Inc. and Keirton
USA Inc. in an amount sufficient to compensate Plaintiff for her injuries, damages, and losses, pre
and post-judgment interest as provided by law, expert witness fees, costs, and such other and further
relief as the Court deems appropriate.

                                        JURY DEMAND

                        PLAINTIFF HEREBY DEMANDS TRIAL
                  TO A JURY OF SIX (6) ON ALL ISSUES SO TRIABLE.

       Dated this 25th day of January, 2021.


                                               PURVIS • GRAY • THOMSON, LLP

                                               Signature of Michael J. Thomson on file at the offices
                                               of PURVIS • GRAY • THOMSON, LLP

                                               By /s/ Michael J. Thomson
                                                      Michael J. Thomson


Address of Plaintiff:
1134 Berkley Avenue
Pueblo, CO 81004




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